   Case 1:16-cr-00242-JTN ECF No. 74, PageID.601 Filed 08/19/21 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,                    No. 1:16-CR-242

                vs.                                   Hon. Janet T. Neff
                                                      United States District Judge
 LAWRENCE G. NASSAR,

                        Defendant.
                                      /

                                             ORDER

       This matter is before the Court on the Government’s Motion to Turn Over Funds in

Inmate Trust Account to Apply to Criminal Monetary Penalties. (ECF No. 69). The Court,

having reviewed the motion papers, including Defendant’s Response (ECF No. 72-1), grants the

Motion.

       Based on transactional data furnished by the Government pertaining to Defendant’s

inmate trust account, the Court finds that Defendant has received approximately $12,825.00 in

deposits since February 2018. This total has included a stimulus check for $600 issued in

January 2021 and a stimulus check of $1,400 issued in March 2021. Otherwise, Defendant has

received deposits no less than once per month, from outside third parties via Money Gram or

Western Union, typically in the amount of $200.00 or more.

       Absent any further deposits since the Government filed its Motion, Defendant’s account

balance was approximately $2,041.57. The Government, through the U.S. Marshals Service,

requested that the Bureau of Prisons freeze any outgoing transactions, including any outgoing

transfers or withdrawals, pending further order of this Court.
   Case 1:16-cr-00242-JTN ECF No. 74, PageID.602 Filed 08/19/21 Page 2 of 3




       The records submitted by the United States reflect that, since being sentenced in

December 2017, Defendant has paid just $300 towards his criminal monetary penalties. This

aggregate amount comprises solely of the minimum quarterly payments of $25 required of him

per the Court’s judgment based on participation in the Inmate Financial Responsibility Program

(IFRP). Because Defendant was ordered to pay restitution to his victims (in the total amount of

$57,488.52), the Court’s judgment also ordered Defendant, pursuant to 18 U.S.C. § 3664(k), to

“notify the court and United States Attorney of material changes in economic

circumstances.” (R.48, PageID.424.) However, Defendant has never notified the Court or the

United States Attorney of the receipt of this money into his inmate trust account, including the

stimulus checks from earlier this year.

       The law provides:

               If a person obligated to provide restitution, or pay a fine, receives
               substantial resources from any source, including inheritance,
               settlement, or other judgment, during a period of incarceration, such
               person shall be required to apply the value of such resources to any
               restitution or fine still owed.

18 U.S.C. § 3664(n).       Moreover, the funds in Defendant’s inmate trust account do not

constitute property that is exempt from collection in a criminal case. See 18 U.S.C. § 3613(a)

(1) (setting forth the applicable IRS property exemptions for criminal cases). Defendant still

owes the entire amount of his $57,488.52 in restitution. Because Defendant has received

substantial non-exempt funds in his inmate trust account since incarceration, he was required

by law to notify the Court and the United States Attorney and to apply those funds to the

restitution that he still owed. Accordingly,
   Case 1:16-cr-00242-JTN ECF No. 74, PageID.603 Filed 08/19/21 Page 3 of 3




       IT IS HEREBY ORDERED that the Bureau of Prisons shall turn over funds, in an amount

up to $62,488.52, held in Defendant’s inmate trust account at the date and time the Bureau of

Prisons receives this Order, to the Clerk of the Court, U.S. District Court for the Western District

of Michigan, for application against Defendant’s outstanding restitution in this case. If funds are

sufficient to satisfy the outstanding restitution, any remainder shall then be applied to the

$5,000 special assessment imposed under the Justice for Victims of Trafficking Act of 2015. 18

U.S.C. § 3014(b).


Dated: August 19, 2021                                 / s/ Janet T. Neff
                                                     Janet T. Neff
                                                     United States District Judge
